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   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
        PLATINO RECORDS, INC. , et al.             CASE NO:
   10                                              2:20−cv−03159−DSF−JPR
                       Plaintiff(s),
   11
               v.                                  ORDER SETTING SCHEDULING
   12                                              CONFERENCE
        COLONIZE MEDIA, INC. , et al.
   13                                              Date: Monday, July 13, 2020
                                                   Time: 11:00 AM
   14
                      Defendant(s).
   15
   16
   17
   18          READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME RESPECTS

   19                                   FROM THE LOCAL RULES.

   20          This case has been assigned to Judge Dale S. Fischer. This matter is set for

   21    a scheduling conference on the above date. If plaintiff has not already served the

   22    operative complaint on all defendants, plaintiff must do so promptly and must file

   23    proofs of service within three days thereafter. Defendants also must timely serve

   24    For record-keeping purposes, the Court will dismiss all remaining fictitiously-

   25    named defendants (i.e., those who have not been named) at the scheduling

   26    conference. The Court will also set a date by which motions to amend the

   27    pleadings or add parties must be heard.

   28    \\\


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   1         The scheduling conference will be held pursuant to Rule 16(b) of the

   2    Federal Rules of Civil Procedure (“Rule __”). The parties are reminded of their

   3    obligations under Rule 26(a)(1) to disclose information (without awaiting a

   4    discovery request), and under Rule 26(f) to meet and confer on a discovery plan

   5    not later than 21 days before the scheduling conference and to file a “Joint Rule

   6    26(f) Report” with the Court not later than 14 days after the meeting of counsel

   7    and not later than seven days before the scheduling. Paper Chambers copies

   8    of the Joint Rule 26(f) Report must be delivered to Judge Fischer’s box across

   9    from the Clerk’s office on the fourth floor of the First Street Courthouse.

   10   Paper Chambers copies must be “blue-backed,” with the title of the

   11   document on the lower right hand corner of the “blue-back,” and must be

   12   “two-hole punched” at the top. Paper Chambers copies must be submitted

   13   no later than noon on the day after the e-filing. Failure to comply with the

   14   following requirements or to cooperate in the preparation of the Joint Rule

   15   26(f) Report may lead to the imposition of sanctions.

   16        The Court encourages counsel to agree to begin to conduct discovery

   17   actively before the scheduling conference. At the very least, the parties shall

   18   comply fully with the letter and spirit of Rule 26(a) and thereby obtain and

   19   produce most of what would be produced in the early stage of discovery,

   20   because at the scheduling conference the Court will impose strict deadlines

   21   to complete discovery.

   22        This Court does not exempt parties appearing in propria persona from

   23   compliance with any of the Local Rules, including Local Rule 16. “Counsel,”

   24   as used in this order, includes parties appearing in propria persona.

   25        1.   Joint Rule 26(f) Report

   26        The Joint Rule 26(f) Report, which must be filed not later than seven days

   27   before the scheduling conference, must be drafted and filed by plaintiff (unless the

   28   parties agree otherwise), but must be signed jointly. “Jointly” contemplates


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   1    a single report, regardless of how many separately−represented parties there are.

   2    The Joint Rule 26(f) Report must specify the date of the scheduling conference on

   3    the caption page. It must report on all matters described below, which include

   4    those required to be discussed by Rule 26(f) and Local Rule 26:

   5         a.   Statement of the case: a short synopsis (not to exceed two pages) of

   6              the main claims, counterclaims, and affirmative defenses.

   7         b.   Subject matter jurisdiction: a statement of the specific basis of federal

   8              jurisdiction, including supplemental jurisdiction.

   9         c.   Legal issues: a brief description of the key legal issues, including any

   10             unusual substantive, procedural, or evidentiary issues.

   11        d.   Parties, evidence, etc.: a list of parties, percipient witnesses, and key

   12             documents on the main issues in the case. For conflict purposes,

   13             corporate parties must identify all subsidiaries, parents, and affiliates.

   14        e.   Damages: the realistic range of provable damages.

   15        f.   Insurance: whether there is insurance coverage, the extent of

   16             coverage, and whether there is a reservation of rights.

   17        g.   Motions: a statement of the likelihood of motions seeking to add

   18             other parties or claims, file amended pleadings, transfer venue, etc.

   19        h.   Status of Discovery: a discussion of the present state of discovery,

   20             including a summary of completed discovery.

   21        i.   Discovery Plan: a detailed discovery plan, as contemplated by Rule

   22             26(f), including the identity of all anticipated deponents and dates by

   23             which their depositions are to be completed (if possible), anticipated

   24             written discovery requests, including requests for admission,

   25             document requests, and interrogatories, and a schedule for completion

   26             of all discovery. State what, if any, changes in the disclosures under

   27             Rule 26(a) should be made, the subjects on which discovery may be

   28             needed and whether discovery should be conducted in phases or


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   1              otherwise be limited, whether applicable limitations should be

   2              changed or other limitations imposed, and whether the Court should

   3              enter other orders. A statement that discovery will be conducted as to

   4              all claims and defenses, or other vague description, is not acceptable.

   5              (Pursuant to Rule 26(f)(2), a discovery plan that complies with Rule

   6              26(f)(3) must be filed within 14 days after the scheduling conference.

   7              If the information provided in the Joint 26(f) Report does not meet

   8              these requirements, the parties must file an additional more detailed

   9              discovery plan no later than the date of the scheduling conference,

   10             even if that conference has been removed from the Court’s calendar.)

   11        j.   Discovery cut-off: a proposed discovery cut-off date. N.B. This

   12             means the final day for completion of discovery, including resolution

   13             of all discovery motions.

   14        k.   Expert discovery: proposed dates for expert witness disclosures

   15             (initial and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

   16        l.   Dispositive motions: description of the issues or claims that any

   17             party believes may be determined by motion for summary judgment

   18             or motion in limine.

   19        m.   Settlement/Alternative Dispute Resolution (ADR): a statement

   20             of what settlement discussions or written communications have

   21             occurred (excluding any statement of the terms discussed) and a

   22             statement selecting on of the three ADR Procedures specified in Local

   23             Rule 16-15.4 and indicating when the ADR session should occur.

   24             Note: If counsel have received a Notice to Parties of Court-Directed

   25             ADR Program (form ADR-08), the case presumptively will be referred

   26             to the Court Mediation Panel or private mediation (at the parties’

   27             expense). No case will proceed to trial unless all parties, including an

   28             officer (with full authority to settle the case) of all corporate parties,


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   1              have appeared personally at an ADR proceeding.

   2         n.   Trial estimate: a realistic estimate of the time required for trial and

   3              whether trial will be by jury or by the court. Each side should specify

   4              (by number, not by name) how many witnesses it contemplates calling.

   5              If the time estimate for trial given in the Joint Rule 26(f) Report

   6              exceeds four court days, counsel must be prepared to discuss in detail

   7              the estimate.

   8         o.   Lead Trial Counsel: the name of lead trial counsel (only one lead trial

   9              counsel may be named). If a different counsel is later chosen as lead

   10             trial counsel, he or she will be bound by all representations in the

   11             Joint 26(f) Report and deadlines in the Court’s Trial Order.

   12        p.   Independent Expert or Master: whether this is a case where the Court

   13             should consider appointing a master pursuant to Rule 53 or an

   14             independent scientific expert. (The appointment of a master may be

   15             especially appropriate if there are likely to be substantial discovery

   16             disputes, numerous claims to be construed in connection with a

   17             summary judgment motion, a lengthy Daubert hearing, a resolution

   18             of a difficult computation of damages, etc.)

   19        q.   Timetable: complete the Schedule of Pretrial and Trial Dates

   20             attached to this Order and attach it to the Joint Rule 26(f) Report.

   21             Submission of a completed Schedule is mandatory. The entries in

   22             the “Weeks Before Trial” column reflect what the Court has determined

   23             are appropriate for most cases and will allow the Court to rule on

   24             potentially dispositive motions sufficiently in advance of the pretrial

   25             conference and otherwise to prepare for the conference. The Schedule

   26             is designed to enable counsel to ask the Court to set different (but only

   27             earlier) last dates by which the key requirements must be completed.

   28             Each side should insert the month, day, and year that side requests


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   1              for each event. E.g., for the expert discovery cut-off it might be

   2              “10/7/21” for plaintiff and “10/28/21” for defendant, if they cannot

   3              agree. Counsel are expected to act professionally and make every effort

   4              to agree on dates. At the scheduling conference, the Court will review

   5              the proposed Schedule with counsel. Each entry proposing Court

   6              dates must fall on a Monday, except the trial date, which must be

   7              a Tuesday. Counsel should insure that requested dates do not fall

   8              on a holiday. In appropriate cases the Court will order different dates

   9              after it hears counsel. The discovery cut-off date is the last day by

   10             which all depositions must be completed, responses to previously-

   11             served written discovery must be provided, and motions concerning

   12             discovery disputes must be heard. The cut-off date for motions is the

   13             last date on which motions may be heard, not filed. The Court is not

   14             likely to continue this date, and generally will not do so unless the trial

   15             date is also continued. The Schedule provides for separate “last days”

   16             for motions to amend pleadings or add parties, motions in limine, and

   17             all other motions.

   18        r.   Magistrate Judge: whether the parties agree to try the case before a

   19             magistrate judge. Pursuant to 28 U.S.C. § 636, the parties may consent

   20             to have a magistrate judge preside over all proceedings, including jury

   21             trials. The parties may choose any magistrate judge (not just the judge

   22             assigned to the case) from among the magistrate judges identified on

   23             the Central District website. The consent form can also be found on

   24             the website.

   25        s.   Other issues: a statement of any other issues affecting the status or

   26             management of the case (e.g., unusually complicated technical or

   27             technological issues, disputes over protective orders, extraordinarily

   28             voluminous document production, non-English speaking witnesses,


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   1              ADA-related issues, discovery in foreign jurisdictions, etc.) and any

   2              proposals concerning severance, bifurcation, or other ordering of

   3              proof.

   4         The Joint Rule 26(f) Report should provide the described information under

   5    section headings corresponding to those in this Order.

   6         2.   Scheduling Conference

   7         The scheduling conferences will be held in the First Street Courthouse,

   8    courtroom 7D, 350 West 1st St., Los Angeles, CA. Counsel shall comply with

   9    the following:

   10        a.   Participation: Lead counsel must attend the scheduling conference,

   11             unless excused by the Court for good cause shown in advance of the

   12             scheduling conference. When seeking permission not to attend, lead

   13             counsel must identify the person who will appear by name and bar

   14             number, and specify that person’s involvement in the case. The Court

   15             may choose to postpone the scheduling conference rather than to

   16             permit counsel other than lead counsel to attend. Neither local counsel

   17             nor other counsel designated as trial counsel may appear at a scheduling

   18             conference in place of lead counsel. Counsel should not purport to be

   19             “co-lead” counsel as a means of avoiding this requirement. Only one

   20             attorney may be named as lead counsel.

   21        b.   Continuance: A continuance of the scheduling conference will be

   22             granted only for good cause.

   23        3.   Notice to be Provided by Counsel

   24        Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel,

   25   must provide this Order to any parties who first appear after the date of this Order

   26   and to parties who are known to exist but have not yet entered appearances.

   27        4.   Disclosure to Clients

   28        Counsel are ordered to deliver to their respective clients a copy of this Order


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   1     and of the Court’s trial order, which will contain the schedule that the Court sets at

   2     the scheduling conference.

   3          5.    Court’s Website

   4          Copies of this and other orders of this Court that may become applicable to

   5     this case are available on the Central District of California website, at

   6     www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules.” Copies of

   7     the Local Rules are available on the website.

   8          The Court thanks the parties and their counsel for their anticipated

   9     cooperation in complying with these requirements.

   10
   11    Caveat: Unless lead counsel is excused by the Court in advance of the

   12    scheduling conference, the attorney who appears at the scheduling

   13    conference will be deemed lead counsel. If counsel fail to file the required

   14    Joint Rule 26(f) Report, or the required pretrial documents, or if lead

   15    counsel fails to appear at the scheduling conference, the pretrial conference,

   16    or any other proceeding scheduled by the Court, and such failure is not

   17    satisfactorily explained to the Court: (a) the case will be dismissed for

   18    failure to prosecute, if such failure occurs on the part of the plaintiff; (b)

   19    default (and thereafter default judgment will be entered if such failure

   20    occurs on the part of the defendant; or (c) the Court will take such other

   21    action as it deems appropriate.

   22
            IT IS SO ORDERED.
   23
        DATED: June 1, 2020                            /s/ Dale S. Fischer
   24                                                 Dale S. Fischer
                                                      United States District Judge
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                          SCHEDULE OF PRETRIAL AND TRIAL DATES
    CASE NAME:
    CASE NO:
                                                                    Weeks Plaintiff(s) Defendant(s) Court
    Matter                                                   Time   before Request       Request    Order
                                                                     trial
                                                             8:30
    Trial (jury)(court) (length ___days) (Tuesday)            am
    For Court Trial                                                   3
    Lodge Findings of Fact and Conclusions of Law, LR
    52; File Exhibit & Witness Lists, LR 16-5,6; File
    Status Report Regarding Settlement; Summaries of
    Direct Testimony (optional)

                                                             3:00     4
    Pretrial Conference, LR 16;                               pm
    Hearing on Motions in Limine (Monday)

    For Jury Trial                                                    6
    Lodge Pretrial Conference Order, LR 16- File
    Agreed Set of Jury Instructions and Verdict Forms;
    Statement Regarding Disputed Instructions, Verdicts,
    etc.; Oppositions to Motions in Limine

    For Jury Trial                                                    7
    File Memo of Contentions of Fact and Law, LR 16-4;
    Exhibit & Witness Lists, LR 16-5,6; Status Report
    Regarding Settlement; Motions in Limine (no more
    than five motions per side may be filed without Court
    permission)

    Last day to conduct ADR Proceeding, LR 16-15                     12
    Last day to hear motions (except motion to amend                 14
    pleadings or add parties and motions in limine), LR 7
    (Monday)

    Non-expert Discovery Cut-off                                     21+

    Expert Disclosure (initial)

    Expert Disclosure (rebuttal)

    Expert Discovery Cut-off                                         21+
    Last day to hear motion to amend pleadings or add                32+
    parties (Monday)




              LR 16-15 ADR Choice:           1. USMJ                               3. Outside ADR

                                              2. Attorney Settlement Panel


                                                     Exhibit A

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